      6:17-cv-00247-JHP Document 13 Filed in ED/OK on 08/15/17 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

BILLIE MONROE,                                 )
                                               )
                      Plaintiff,               )
                                               )
vs.                                            )     Case No. 6:17-cv-00247-JHP
                                               )
HARTFORD UNDERWRITERS                          )
INSURANCE COMPANY                              )
                                               )
                      Defendant.               )

                                   JOINT STATUS REPORT

       Pursuant to Federal Rule of Civil Procedure 26(f) a meeting was held on August 1, 2017
at 1:30 PM. Plaintiff Billie Monroe appearing by counsel, W. Cullen McMahon of W. Cullen
McMahon, PLLC (Mr. McMahon is located in Dallas, Texas), and Defendant Hartford
Underwriters Insurance Company appearing by counsel, Jodi W. Dishman of McAfee & Taft
(Ms. Dishman is located in Oklahoma City, Oklahoma).

       1. Summary of Claims:

       Plaintiff: Plaintiff owned an insurance policy for her 2012 Toyota Camry purchased
from the Defendant Hartford Underwriters Insurance Company. The aforementioned insurance
policy does contain a clause providing for Underinsured Motorist Coverage. Plaintiff was in a
motor vehicle accident on April 16, 2012, during which the underinsured policy was in effect.
The other driver’s insurance company has already tendered policy limits.

       2. Summary of Defenses:

       Defendant:       Hartford Underwriters Insurance Company (“Hartford”) issued an
automobile policy to Plaintiff providing uninsured motorist (“UM”) coverage. On April 16,
2012, Plaintiff was a passenger in a vehicle that was rear-ended at a low rate of speed.
Following the accident, Plaintiff was treated initially with an emergency room visit and two
primary care visits within a month of the accident. Nineteen months later, she had additional
medical treatment—including epidural injections and radiology—that she claims relates to her
2012 car accident. Plaintiff had prior back surgery in 2011 following a slip-and-fall in 2009; she
also had a car accident in approximately 2003. Her prior injuries and medical condition, plus the
gap in medical treatment following the 2012 car accident, call into question causation and how
much of Plaintiff’s alleged medical is related to the 2012 car accident.

        During claims handling, Hartford repeatedly sought from Plaintiff information and
cooperation about her UM claim and the amount of medical at issue so that it could evaluate and
pay her UM claim. Plaintiff never provided the information requested by Hartford or cooperated
in Hartford’s attempt to investigate and settle the UM claim. Instead, Plaintiff filed this lawsuit
alleging claims for bad faith and breach of contract.
     6:17-cv-00247-JHP Document 13 Filed in ED/OK on 08/15/17 Page 2 of 4



        Hartford did not act in bad faith and has not breached its contract with Plaintiff.
Plaintiff’s claim may be barred by her failure to cooperate or comply with her duties under the
policy and her failure to meet her burden of proving her UM claim. Plaintiff’s bad faith claim
may also be barred by the two-year statute of limitations. To the extent Plaintiff is entitled to
recover under her UM coverage, her medical expenses and conditions were not caused by or
related to the 2012 car accident, but at least in part preexisted the accident, and her recovery is
reduced by any amount tendered by the tortfeasor’s liability carrier. Hartford does not abandon
the affirmative and other defenses asserted in its Answer (Dkt No. 9).

       3.      Stipulations:
                                                    A. Jurisdiction Admitted:    X          Yes
                                             No Explain:
       This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 because Plaintiff and
       Defendant are diverse, and the amount in controversy exceeds $75,000.

                                                   B. Venue appropriate:     X           Yes
                                             No Explain:
       The U.S. District Court for the Eastern District of Oklahoma is the appropriate venue
       because the initial action was filed and removed from Bryan County, Oklahoma, where
       the accident occurred.

               C. Facts:

   a. The contract at issue in this lawsuit is automobile policy number 55 PHF521009 for the
      policy period January 29, 2012, to January 29, 2013, issued by Hartford Underwriters
      Insurance Company and listing Plaintiff Billie Monroe as a “Named Insured.”
   b. The car accident in question occurred on April 16, 2012.

               D. Law: No stipulations at this time.

       4.      Discovery Plan: The parties jointly propose to the Court the following discovery
               plan: (Use separate paragraphs or subparagraphs as necessary if parties disagree.)

               Discovery will be needed on the following subjects:

               Plaintiff: Plaintiff’s injuries and medical damages, and the potential claims
               handling processes.

               Defendant: Basis for Plaintiff’s claims; basis for Plaintiff’s claimed damages;
               statute of limitations defense; causation and relatedness of injuries and bills to car
               accident in April 2012, including discovery of her prior car accident and slip-and-
               fall injuries and treatment for those injuries; Plaintiff’s cooperation in claims
               handling process; Plaintiff’s compliance with policy terms and conditions;
               whether Plaintiff met her burden of proving UM claim.

               All discovery commenced in time to be completed by: Unknown because
               Plaintiff asserts she is continuing to treat, but Parties estimate 6-8 months or by
               April 30, 2018. Discovery on __n/a_______________________
               (issue for early discovery)       n/a        to be completed by_____n/a_______.



                                                 2
6:17-cv-00247-JHP Document 13 Filed in ED/OK on 08/15/17 Page 3 of 4



       Maximum of 25 interrogatories by each party to any
       other party. Responses due 33 (30 + 3 for mailing) days after service.

       Maximum of 25 requests for admission by each party to
       any other party. Responses due 33 (30 + 3 for mailing) days after service.

       10 depositions by plaintiff(s) and 10 depositions by defendant(s).

       Each deposition (other than of      n/a                              )
       limited to maximum of 7 hours unless extended by
       agreement of parties.

 5.    All parties consent to trial before Magistrate Judge?
                      Yes               X    No (If yes is marked you
       must sign and file a consent form)

 6.    Settlement Plan:
       Settlement Conference requested after March 30, 2018.
       Other ADR (explain) _____________________________________.

 7.    Estimated Litigation Costs:
       A. Plaintiff
       (1) Through discovery cutoff                 $ __ 5,000____________
       (2) Discovery cutoff through trial           $ __10,000____________
       (3) Appeal                                   $ __ 2,000____________
              Total                                 $ __17,000____________

       B. Defendant
       (1) Through discovery cutoff                 $ __15,000____________
       (2) Discovery cutoff through trial           $ __15,000____________
       (3) Appeal                                   $ __10,000____________
              Total                                 $ __40,000____________

       GRAND TOTAL (All Parties                     $ ____________________

       $0-$200,000 (the amount of UM coverage under the policy). Actual amount in
       controversy (may be expressed in a dollar range)
      6:17-cv-00247-JHP Document 13 Filed in ED/OK on 08/15/17 Page 4 of 4



APPROVED:



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